                  Case: 1:20-cr-00309 Document
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 ILND 2458 (Rev. 03/12l2020y iuitgrnentE a-C1im-inai.uase-


DEFENDANT: JAMAR SPENCER
CASE NUMBER: I :20-CR-00309(3)
                                                              IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
Seventy-two (72) months as to count I of the Indictment.

tr         The court makes the following recommendations to the Bureau of prisons:

a          The defendant is remanded to the custody of the United States Marshal.

tr         The defendant shall surrender to the United States Marshal for this district:

           tr
     tr         as notified by the United States Marshal.

     tr         The defendant shall surrender for service ofsentence at the institution designated by the Bureau ofprisons:

          tr         before 2:00 pm on

          tr
                                                                                                              E rlED
                     as notified by the United States Marshal.


          tr         as notified by the Probation or Pretrial Services Office.




                                                                    RETURN
                                                                                                            ,qER?3ffiB,s,ffiIssr*
                                                                                                               +,.0"16aga
I have executed this judgment as follows:




fffi::I
            derivered
                        ",tolrre le3," trsf I
                                                             oui$Y "Lt'otsbwgfA                                 , with a certified copy of this



                                                                                            J-               Na,rfo4

                                                                                 By
               Case: 1:20-cr-00309 Document
                     Case: 1:20-cr-(        #: 222 Filed:
                                     09, Document:        10/26/23
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                                UNITED STATES DISTRICT COURT
                                                         Northem District of Illinois


               UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                 v.

                       JAMAR SPENCER                                          CaseNumber: 1:20-CR-00309(3)
                                                                              USM Number: 55045-424



                                                                              Richard L. Fenbert
                                                                              Defendant's Attomey


THE DEFENDAITIT:
I pleaded guilty to count One (l) of the Indictment.
EI pleaded nolo contendere to count(s) which was accepted by the court.
E was found guilty on count(s) after a plea of not guilty.
The defendant is adjudicated guilty ofthese offenses:
 Title & Section / Nature of Offense                                                                Offense Ended            Count
 2 I :846{d.F Conspiracy To Distribute Controlled Substance                                         09/03/2019                I




The defendant is sentenced as provided in pages 2 through 8 ofthisjudgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.

E] ttre defendant has been found not guilty on count(s)

E All remaining counts are dismissed on the motion of the United States.
It is ordered that the defendant must noti$ the United States Attorney for this District within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notif, the court and United States Attorney of material changJs in economic iircumstances.


                                                                                 Jult" 21,2023
                                                                                 D@

                                                                                           M. Kendall, United States District Judge

                                                                                 Name and Title of Judge

                                                                                    7/2612023
                Case: 1:20-cr-00309 Document #: 222 Filed: 10/26/23 Page 3 of 8 PageID #:1224
ILND 2458 (Rev.0311212020)
                           Case: 1:20-cr-(
                                 in a
                               Judgment
                                           09, Document: 208, Filed: 07-26-2L
                                          Criminal Lase
                                                                              , Page3ofS
Sheet 3 - Supervised Release                                                                                                   Judsment - Paee 3 of 8
DEFENDANT: JAMAR SPENCER
CASE NUMBER: I :20-CR-00309(3)

         MANDATORY CONDITIONS OF SUPERVTSED RELEASE PURSUANT TO 18 U.S.C S 3583(d)

                                           tt.Sll !q on supervised release for a term of:
                                           tidtment.

            The court imposes those conditions identified by checkmarks below:



During the period ofsupervised release:
 E (l) you shall not commit another Federal, State, or local crime.
 A (2) you shall not unlawfully possess a controlled substance.
 tr (3) you shall attend a public, private, or private nonprofit offender rehabilitation program that has been approved by the court, if
              an approved program is readily available within a 50-mile radius of your legal residence. [Use for a first conviction of a
              domestic violence crime, as defined in $ 3561(b).1
 tr     (4) you shall register and comply with all requirements of the Sex Offender Registration and Notification Act (42 U.S.C. S
              16913).
 A      (5) you shall cooperate in the collection of a DNA sample if the collection of such a sample is required by law.
 A      (6) you shall refrain from any unlawful use of a controlled substance AND submit to one drug test within I 5 days of release on
            supervised release and at least two periodic tests thereafter, up to 104 periodic tests for use ofa controlled substance during
              each year of supervised release. [This mandatory condition may be ameliorated or suspended by the court for any defendant
              if reliable sentencing information indicates a low risk of future substance abuse by the defendant.l

 DISCRETIONARY CONDTTTONS OF SUPERVTSED RELEASE PURSUANT TO 18 U.S.C $ 3s63(b) AND
                                                                18 u.s.c $ 3s83(d)

Discretionary Conditions        The court orders that you       by the following conditions during the term of supervised release because such
                             - to the factors set forth inabide
conditions are reasonably related                           $ 3553(a)(1)  and (4X?Ip)Je)r.ag.dlD)Lsuch conditions involve only such
deprivations of liberty or property as are reasonably necessary for the purposes indicated in $ 3553 (aX2) (B). (C). and (D): and such
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursuant to 28 U.S.C. 994a.
The court imposes those conditions identified by checkmarks below:

During the period ofsupervised release:
 E (1) you shall provide financial support to any dependents ifyou are financially able to do so.
 tr Q) you shall make restitution to a victim of the offense under $ 3556 (but not subject to the limitation of $ !fj!(3) or
                $ 3663A(cXl)(A)).
 tr     (3) you shall give to the victims of the offense notice pursuant to the provisions of $ 3555, as follows: "".. il:;
 tr     $) you shall seek, and work conscientiously at, lawful employment or, if you are not gainfully employed, you shall pursue
                conscientiously a course of study or vocational training that will equip you for employment.
 tr     (5) you shall refrain from engaging in the following occupation, business, or profession bearing a reasonably direct relationship
               to the conduct constituting the offense, or engage in the following specified occupation, business, or profession only to a
               stated degree or under stated circumstances; (if checked yes, please indicate restriction(s)) ,, :',,;,r,,:.
 tr     (6)    you shall not knowingly meet or communicate with any person whom you know to be engaged, or planning
               to be engaged, in criminal activity and shall not:
                 tr visit the following type of places' ti ^i-,'.
                 El knowingly meet or communicate with the following persons:
        iErti',m
 tr     (7) you shall refrain from E any or El excessive use ofalcohol (defined as E having a blood alcohol concentration
            greater than 0.08; or E        ), and from any use ofa narcotic drug or other controlled substance, as defined in $ 102
            of the Controlled Substances Act (!! U.S.C. $ 802), without a prescription by a licensed medical practitioner.
 tr     (8) you shall not possess a firearm, destructive device, or other dangerous weapon.
 tr     (9) E you shall participate, at the direction of a probation officer, in a substance abuse treatment program, which may
                        include urine testing up to a maximum of 104 tests per year.
                   El you shall participate, at the direction of a probation officer, in a mental health treatment program, and shall take
                        any medications prescribed by the mental health treatment provider.
               Case: 1:20-cr-00309 Document #: 222 Filed: 10/26/23 Page 4 of 8 PageID #:1225

DEFENDANT: JAMAR SPENCER
CASE NUMBER: 1 :20-CR-00309(3)
               E you.shall participate, at the direction ofa probation officer, in medical care; (ifchecked yes, please specify:
                    *l$i.l
 tr    (10) (intermittent confinement):.you"shall remain in the custody of the Bureau of Prisons during nights, weekends, or other
            intervals of time, totaling :f i;, . [no more than the lesser of one year or the term of imprisonment authorized for the
             offense], during the first year of the term of supervised release (provided, however, that a condition set forth in
             $3563(bX10) snAl!9 imposed only for a violation of a conditio!.g_f_lupervised release in accordance with g 35S3(e)(2)
             and only when facilities are available) for the following period l.t"
                                                                                    j,:.
                                                                                         .

tl     (l l) (community confinement): you shall reside at, or participate in the program of a community corrections facility
             (including a facility majStgjped or under contract to the Bureau ofPrisons) for all or part ofthe term ofsupervised
             release, for a period of $$il;,,1 months.
tr     (12) you shall work in community service for *..t.'.l,.ii hours as directed by a probation officer.
tr     (13) you shall reside in the following place or a.ea:;*iill!, or refrain from residing in a specified place or area:::r,,i,.11:r.r:
a (14) you shall not knowingly leave from the federal judicial district where you are being supervised, unless
            granted permission to leave by the court or a probation officer. The geographic area of the Northem District of
            Illinois currently consists of the Illinois counties of Cook, DuPage, Grundy, Kane, Kendall, Lake, LaSalle, Will,
            Boone, Carroll, DeKalb, Jo Daviess, Lee, McHenry, Ogle, Stephenson, Whiteside, and Winnebago.
tr    (15) you shall repoft to the probation office in the federal judicial district to which you are released within 72 hJurs of your
            release from imprisonment. You shall thereafter report to a probation offrcer at reasonabte times as directed by thl court
           or a probation officer.
E     (16) E        you shall permit a probation officer to visit you E at any reasonable time or E as specified:
                                                                                                                           ,
                     E at home                 E at work                   E at school                E at a community service location
                     El other reasonable location specified by a probation officer
                 A you shall permit confiscation of any contraband observed in plain view of the probation officer.
B     (17) you shall notify a probation officer within 72 hours, after becoming aware of any change in residence, employer, or
              workplace and, absent constitutional or other legal privilege, answer inquiries by a probation officer. You shall answer
              truthfully any inquiries by a probation officer, subject to any constitutional or otherlegal privilege.
tr     ( I 8) you shall notifu a probation officer within 72 hours if after being arrested, charged
                                                                                                     with a crime, or questioned by a law
              enforcement officer.
tr     (19) (home confinement)
              tr (a)(i) (home incarceration) for a period of months, you are restricted to your residence at all times except for
                      medical necessities and court appearances -or other activities specifically approved by the court.
              tr (a)(ii) (home detention) for a period of months, you are restricted to your residence at all times except for
                                                              - medical, substance abuse, or mental health treatment; attomey visits;
                      employment; education; religious services;
                      court appearances; court-ordered obligations; or other activities pre-approved by the probation officer.
              tr (a)(iii) (curfew) for a period of- months, you are restricted to your residence every day.
              D from the times directed by the probation officer; or E from _ to _.
              tr (b) your compliance with this condition, as well as other court-imposed conditions of supervision, shall be monitored
                      by a form of location monitoring technology selected at the discretion of the probation officer, and you shall abide
                      by all technology requirements.
              tr (o) ycu shall pay all or part ofthe cost ofthe location monitoring, at the daily contractual rate, ifyou are financially
                      able to do so.
tr    (20) you shall comply with the terms of any court order or order of an administrative process pursuant to the law of a State, the
              District of Columbia, or any other possession or territory of the United States, requiring puy."rtr by you for the support
              and maintenance of a child or of a child and the parent with whom the child is living.
                                                                                                         -
tr    (21) (deportation): you shall be surrendered to a duty authorized official of the Homelanl Security Department for a
              determination on the issue of deportability by the appropriate authority in accordance with the laws under the Immigration
              and Nationality Act and the established implementing regulations. If ordered deported, you shall not remain in or enter the
              United States without obtaining, in advance, the express written consent of the United Siates Attorney General or the
              United States Secretary of the Department of Homeland Security.
E     (22) you shall satisfr such other special conditions as ordered below-
tr    (23)          shall submit your person, property, house, residence, vehicle, papers or office, to a search conducted by a United States
             -You
             Probation Officer(s). Failure to submit to a search may be grounds for revocation of release. You shall warn any other
             occupants that the premises may be subject to searches pursuant to this condition. An officer(s) may conduct a search
             pursuant to this condition only when reasonable suspicion exists that you have violated a condition-of your supervision
                                                                                                                                         and
             that the areas to be searched contain evidence of this violation. Any search must be conducted at a reasonablelime and in a
            reasonable manner.
                  Case: 1:20-cr-00309 Document #: 222 Filed: 10/26/23 Page 5 of 8 PageID #:1226
                        Case: 1:2-0-cr-r ,09, Document: 208, Filed: 07-26-21 , page 5 of 8
ILND 2458 (FLev.0311212020) Judgment in a Criminal uase
          Release
Sheet 3 - Supervised                                                                                                              Judgment_ paee 5 ofg
DEFENDANT: JAMAR SPENCER
CASE NUMBER: I :20-CR-00309(3)
 tr Q4) Other:
SPECIAL CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C.3s63(bx22) and 3s83(d)
The court imposes those conditions identified by checkmarks below:

During the term ofsupervised release:
 tr (1) if you have not obtained a high school diploma or equivalent, you shall participate in a General Educational
                     Development (GED) preparation course and seek to obtain a GED within the first year of supervision.
 tr Q)               you shall participate in an approved job skill-training program at the direction of a probation officer within the first 60
                     days of placement on supervision.
 E (3)               you shall, if unemployed after the first 60 days of supewision, or if unemployed for 60 days after termination or lay-off
                     from employment, perform at least 20 hours of community service per week at the direction of the probation office until
                     gainfully employed. The total amount of community service required over your term of service shall not exceed 300
                     hours.
 tr (4)              you shall not maintain employment where you have access to other individual's personal information, including, but not
                     limited to, Social Security numbers and credit card numbers (or money) unless approved by a probation offrcer.
 E      (5) "        you shall not incur new credit charges or open additional lines of credit without the approval of a probation officer
                     unless you are in compliance with the financial obligations imposed by this judgment.
 A (6)               you shall provide a probation officer with access to any requested financial information requested by the probation
                     officer to monitor compliance with conditions of supervised release.
 E (7)            within 72 hours of any significant change in your economic circumstances that might affect your ability to pay
                  restitution, fines, or special assessments, you must notify the probation officer ofthe change.
 tr (8)           you shall file accurate income tax returns and pay all taxes, interest, and penalties as required by law.
 tr (9)          you shall participate in a sex offender treatment program. The specific program and provider will be determined by a
                 probation officer. You shall comply with all recommended treatment which may include psychological and physiological
                 testing. You shall maintain use of all prescribed medications.
                 D You shall comply with the requirements of the Computer and Internet Monitoring Program as administered by the
                         United States Probation Office. You shall consent to the installation of computer monitoring software on all
                          identified computers to which you have access and to which the probation officer has legitimate access by right or
                         consent. The software may restrict and/or record any and all activity on the computer, including the capture of
                         keystrokes, application information, Intemet use history, email correspondence, and chat conversations. A notice
                         will be placed on the computer at the time of installation to wam others of the existence of the monitoring
                         software. You shall not remove, tamper with, reverse engineer, or in any way circumvent the software.
                 tr The cost of the monitoring shall be paid by you at the monthly contractual rate, if you are financially able, subject
                         to satisfaction of other financial obligations imposed by this judgment.
                 D You shall not possess or use at any location (including your place of employment), any computer, external storage
                         device, or any device with access to the Internet or any online computer service without the prior approval of a
                         probation officer. This includes any Internet service provider, bulletin board system, or any other public or private
                         network or email system
                 tr You shall not possess any device thai cculd be used for covert photography without the prior approval ofa
                         probation of;ficer.
                 !        You shall not view or possess child pomography. If the treatment provider determines that exposure to other
                          sexually stimulating material may be detrimental to the treatment process, or that additional conditions are likely
                          to assist the treatment process, such proposed conditions shall be promptly presented to the court, for a
                          determination, pursuant to l8 U.S.C. $ 3583(e)(2), regarding whether to enlarge or otherwise modifo the
                          conditions of supervision to include conditions consistent with the recommendations of the treatment provider.
                tr        You shall not, without the approval of a probation officer and treatment provider, engage in activities that will put
                           you in unsupervised private contact with any person under the age of 18, and you shall not knowingly visit
                           locations where persons under the age of l8 regularly congregate, including parks, schools, school bus stops,
                           playgrounds, and childcare facilities. This condition does not apply to contact in the course of normal commercial
                           business or unintentional incidental contact
                tr        This condition does not apply to your family members: [Names]
                D         Your employment shall be restricted to the judicial district and division where you reside or are supervised, unless
                          approval is granted by a probation officer. Prior to accepting any form of employment, you shall seek the
                          approval of a probation officer, in order to allow the probation officer the opportunity to assess the level of risk to
                          the community you will pose if employed in a particular capacity. You shall not participate in any volunteer
                Case: 1:20-cr-00309 Document #: 222 Filed: 10/26/23 Page 6 of 8 PageID #:1227
ILND 2458 (Rev.
                      Qase: 1:2Q-cr-( C9, Document: 208, Filed: 07-26-21 , Page 6 of 8
                  03/12/2020) Judgment in a Criminal Lase
          Release
Sheet 3 - Supervised                                                                                                          Judement - Pase 6 of 8
DEFENDANT: JAMAR SPENCER
CASE NUMBER: I :20-CR-00309(3)
                        activity that may cause you to come into direct contact with children except under circumstances approved in
                        advance by a probation officer and treatment provider.
                  !     You shall provide the probation officer with copies of your telephone bills, all credit card statements/receipts, and
                        any other financial information requested.
                  tr You shall comply with all state and local laws pertaining to convicted sex offenders, including such laws that
                        impose restrictions beyond those set forth in this order.
 tr (10)           you shall pay to the Clerk of the Court any financial obligation ordered herein that remains unpaid at the
                   commencement of the term of supervised release, atarate of not less than l0%o of the total of your gross earnings minus
                  federal and state income tax withholdings.
 E      (1   1)   you shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the
                  prior permission of the court.
 a 02)            you shall pay to the Clerk of the Court $2,0€.Q as repayment to the United States of government funds you received
                  durine the investisation of this offense. (The Clerk of the Court shall remit the funds to



 tr (13) if the probation officer determines that you pose a risk to another person (including an organization or members of the
                  community), the probation officer may require you to tell the person about the risk, and you must comply with that
                  instruction. Such notification could include advising the person about your record of arrests and convictions and
                  substance use. The probation officer may contact the person and confirm that you have told the person about the risk.
 tr    (14)        voir:3.trrit.S.tirrr$,bpip:nelritrrciiirrt ibeSii-f;;'as*iiiiiffite'tbf.i5iiiproriti6.dSfniar,
 tr    (15)       Other:
                   Case: 1:20-cr-00309 Document #: 222 Filed: Filed:
ILND24sB (Rev.o312/2020,'?ffi;,1'ft9;91;i.-",309,Document:208,10/26/23 Page 7,,ofPage
                                                                     O7-26-2t         7 otB#:1228
                                                                                  8 PageID
Sheet 5 - Crimtnal Monetary penalties

DEFENDANT: JAMAR SPENCER
CASE NUMBER: I :20-CR-00309(3)


                                                CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the
                                                                                     schedule of payments on Sheet 6.

                              AssessmeIt                  Restitution                Fine                   AVAA Assessmenf*            JVTA Assessment**
 TOTALS                                       $ 100.00                    $.00                     $.00                      $.00                      $.00


 tr        The determination of restitution is defered until    . AnAmenfud Judgment in a criminal Case (Ao 245c)will be entered after such
           determination.
 tr        The defendant must make restitution (including community restitution) to the
                                                                                        following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment,
                                                                                                                  unless specified
        otherwise in the priority order or percentage payment column below. Hower"r, priruuni
                                                                                                to lg U.S.c. $ 3664(i), all nonfederal
        victims must be paid before the United Statei ii paid.




      tr           Restitution amount ordered pursuant to plea agreement $

      tl           The defendant must pay interest on restitution and a fine of more than
                                                                                           $2,500, unless the restitution or fine is paid in full
                   before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C.
                                                                                                  S 3612(f). All of the payment option, on Sheel
                   6 may be subject to penalties for delinquency and default, pursuant to ls
                                                                                              U.S.-C. S foiztgl.
      D            The court determined that the defendant does not have the ability to pay interest
                                                                                                              and it is ordered that:
                   tr              the interest requirement is waived for the

                   tr              the interest requirement for the               is modified as follows:

      tr           The defendant's non-exempt assets, if any, are subject to immediate execution to
                                                                                                    satisry any outstanding restitution or fine
                   obligations.

              vicky, and Andy child Pomography victim Assistance Act of20lg, pub. L. No. lls-2g9.
      1.A-.y,
      *r   Justice for Victims of Trafficking Act of 2015, pub. L. No. I l4-22.
      *** Findings for the total amount of
                                        losses are required under chapters 109A, I10, I l0A, and I l34 of ritle lg for ofrenses
                                                                                                                                committed on or after
      September 13,1994, but before April23,1996.
                 Case: 1:20-cr-00309 Document #: 222 Filed: 10/26/23 Page 8 of 8 PageID #:1229
 ILND 2458 (Rev. 03/1212020)Q4se:
                                     L:2p7cI-1. C9, Document: 208, Filed: O7-26-ZC , page 8 of 8
                            Judgment in a Criminal Case
 Sheet6-Scheduleof
DEFENDANT: JAMAR SPENCER
CASE NUMBER: I :20-CR-00309(3)
                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A      A      Lump sum payment of $100.00 due immediately.


              tr       balance due not later   than      , or

              tr       balance due in accordance with E C, E D, El E, or E F below; or


       tr     Payment to begin immediately (may be combined with EI C, E D, or El F below); or


       tr          equal \e.g. weekly, monthly, quarterly) installments of $
              Payment in                                                                          over a period of       (e.g., monrhs oryears),to
              commence (e.g., 30 or 60 days) after the date of this judgment; or
       tr     Payment in equal (e.g. weekly, monthly, quarterly) installments of $       over a period of                (e.g., months or years),to
              commence (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or
       tr     Payment during the term of supervised release will commence     within      (e.g., 30 or 60 days) after release from imprisonment.
              The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or


       tr     Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

tr     Joint and Several

Case Number                                    Total Amount               Joint and Several           Corresponding Payee, if
Defendant and Co-Defendant Names                                          Amount                      Appropriate
(including defendant number)

**See above for Defendant and Co-Defendant
                                                Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.**

tr     The defendant shall pay the cost ofprosecution.

tr     The defendant shall pay the following court cost(s):

tr     The defendant shall forfeit the defendant's interest in the following property to the United States;

Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
